
654 So.2d 319 (1995)
Jake Ellis MAGEE, Individually and as the Administrator of the Estate of His Minor Son, James Ellis Magee, et al.
v.
Mary LANDRIEU, in Her Official Capacity as Treasurer of the State of Louisiana et al.
STATE of Louisiana Through the DIVISION OF ADMINISTRATION
v.
Dennis M. PINO, Jr. et al.
STATE of Louisiana Through the OFFICE OF the TREASURER
v.
Jake Ellis MAGEE, Individually and as the Administrator of the Estate of His Minor Son James Ellis Magee, et al.
No. 95-C-0790.
Supreme Court of Louisiana.
April 21, 1995.
Denied.
WATSON and LEMMON, JJ., would grant the writ.
DENNIS, J., not on panel.
